

People v Aquino (2021 NY Slip Op 01058)





People v Aquino


2021 NY Slip Op 01058


Decided on February 17, 2021


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 17, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, A.P.J.
SYLVIA O. HINDS-RADIX
VALERIE BRATHWAITE NELSON
LINDA CHRISTOPHER, JJ.


2017-13235

[*1]The People of the State of New York, respondent,
vMelvin Aquino, appellant. (S.C.I. No. 1088/16)


Janet E. Sabel, New York, NY (Antonio Villaamil of counsel), for appellant.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill and Christopher J. Blira-Koessler of counsel; Justin Peralta on the brief), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the Supreme Court, Queens County (Suzanne J. Melendez, J.), rendered May 4, 2017, convicting him of attempted burglary in the second degree and petit larceny, upon his plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
The defendant waived his right to be prosecuted by indictment and agreed to be prosecuted under a superior court information (hereinafter SCI) charging him with attempted burglary in the second degree and petit larceny. The defendant was convicted on both counts, upon his plea of guilty, and now appeals.
The defendant's contention that the written waiver of indictment failed to comply with Criminal Procedure Law § 195.20, in that it does not contain the "approximate time and place" of the offenses to be charged in the SCI, is forfeited by his plea of guilty (see People v Thomas, 34 NY3d 545, 569; People v Cruz, 186 AD3d 1393, 1393; People v King, 184 AD3d 909, 910).
MASTRO, A.P.J., HINDS-RADIX, BRATHWAITE NELSON and CHRISTOPHER, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








